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              EXHIBIT A
  to Declaration of Meghan Andre in Support of
 Plaintiffs’ Motion for Partial Summary Judgment
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              A              B                  O                          P                        AM                          AV                   AY
    1 ds              wa_sk          tos_accept_timestamp     tos_optout_timestamp       tos2_accept_timestamp       tos3_accept_timestamp     phone_number
           2024-03-14      825315355      2016-08-28 16:19:04                                                              2021-03-13 23:25:25



    2
           2024-03-14     7176181865        2019-09-11 1:43:19                                  2019-09-20 1:41:48        2021-01-06 22:41:34


    3
           2024-03-14      948639057        2016-08-29 0:38:34      2016-08-29 0:38:34                                      2021-01-09 7:30:10

    4
           2024-03-14      388516324        2016-08-29 0:15:20      2016-08-29 0:15:20                                    2021-01-08 16:13:22



    5
           2024-03-14      140588103        2016-08-29 0:26:41                                  2018-05-12 1:53:45        2021-03-03 12:51:58

    6
           2024-03-14     3019281484        2017-06-24 1:06:54                                                              2021-04-13 4:46:44


    7
           2024-03-14      567355753        2016-09-25 3:57:07


    8
           2024-03-14     3363712626       2017-09-04 23:57:46

    9
           2024-03-14      845382628        2016-08-26 7:49:48                                                              2021-01-05 8:15:27



   10
   11      2024-03-14      633263089        2016-08-29 0:07:03      2016-08-29 0:07:03                                    2021-01-06 21:24:57
           2024-03-14      470982865       2016-08-28 22:00:35     2016-08-28 22:00:35                                    2021-01-08 21:30:45

   12
           2024-03-14      320786165        2016-08-29 0:28:00                                                              2023-05-21 4:33:04


   13
           2024-03-14      865203113        2016-08-28 7:48:18                                                            2021-01-06 21:42:50



   14
           2024-03-14      350132770       2016-08-28 23:44:47                                                            2021-01-06 21:57:24


   15
           2024-03-14      648503642       2016-08-28 14:03:46     2016-08-28 14:03:46                                      2021-01-07 4:41:49



   16
           2024-03-14      675433142        2016-08-29 0:14:41      2016-08-29 0:14:41                                      2021-01-07 0:24:09
   17
           2024-03-14      146634637        2016-08-29 0:10:46      2016-08-29 0:10:46                                    2021-01-06 22:20:58
   18
           2024-03-14      258731559       2016-08-28 23:29:34     2016-08-28 23:29:34                                    2021-01-09 22:32:55


   19
           2024-03-14      895254216        2016-08-29 0:13:27                                                            2021-01-09 22:31:49

   20
           2024-03-14      635973459        2016-08-29 0:07:04      2016-08-29 0:07:04                                      2022-10-22 5:49:40


   21
           2024-03-14      355389440       2016-08-28 21:37:59                                                              2021-01-09 6:58:23


   22
           2024-03-14      410285030        2016-08-29 0:26:21      2016-08-29 0:26:21                                    2021-01-06 22:28:13

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              A              B                  O                          P                        AM                          AV                   AY
    1 ds              wa_sk          tos_accept_timestamp     tos_optout_timestamp       tos2_accept_timestamp       tos3_accept_timestamp     phone_number
           2024-03-14      751460074      2016-08-28 23:58:09                                                              2021-03-13 22:27:08


   24
           2024-03-14      580778378       2016-09-02 21:44:53                                                            2021-01-08 22:47:07
   25
           2024-03-14      370458687        2016-08-29 2:52:53                                                              2021-05-19 7:19:10
   26
           2024-03-14      910516649        2016-08-29 0:24:07      2016-08-29 0:24:07                                      2021-06-09 0:58:31
   27
           2024-03-14     1000347939       2016-08-28 23:54:18                                                            2021-01-08 22:07:58
   28
           2024-03-14      295711370       2016-08-28 23:30:56                                                            2021-01-06 22:21:03


   29
           2024-03-14      359860818        2016-08-29 0:15:26      2016-08-29 0:15:26                                    2021-05-08 20:56:51

   30
           2024-03-14      145289323        2016-08-29 0:05:11                                                              2021-05-05 3:44:23

   31
           2024-03-14      730858402       2016-08-28 23:01:44     2016-08-28 23:01:44                                    2021-01-06 22:20:41

   32
           2024-03-14      589804286       2016-08-28 20:40:22     2016-08-28 20:40:22                                      2023-07-04 0:47:12
   33
           2024-03-14      119861365       2016-08-28 23:54:17                                                              2021-01-09 1:45:38

   34
           2024-03-14      191750200       2016-09-24 22:34:02     2016-09-24 22:34:02                                    2021-01-08 21:32:40

   35
           2024-03-14      300537534       2016-08-28 22:56:12     2016-08-28 22:56:12                                    2021-01-06 22:45:05
   36
           2024-03-14      269283404        2016-08-29 0:02:50      2016-08-29 0:02:50                                    2021-04-27 14:17:15

   37
           2024-03-14     3004847507        2017-06-21 0:53:49
   38
           2024-03-14      124147806        2016-08-26 6:30:50      2016-09-19 2:39:05                                    2021-01-06 15:27:40
   39
           2024-03-14      394549734       2016-08-28 14:38:37                                                              2022-01-29 8:09:29

   40
           2024-03-14      882885582        2016-08-29 4:29:06      2016-08-29 4:29:06                                    2021-01-06 15:38:59


   41
           2024-03-14      899543112       2016-08-28 22:13:30     2016-08-28 22:13:30                                    2021-01-08 23:36:50



   42
           2024-03-14    10566362101       2021-06-21 12:31:42     2021-06-21 12:31:42          2021-04-20 5:24:25        2021-06-21 12:27:07

   43
           2024-03-14      393759746        2016-08-29 0:01:04      2016-08-29 0:01:04                                    2021-01-06 22:32:24

   44
           2024-03-14      705152109       2016-08-28 22:45:08     2016-08-28 22:45:08                                    2021-01-06 22:18:45

   45
           2024-03-14      702980420       2016-08-28 10:59:29     2016-08-29 23:48:30                                    2021-01-06 20:33:41



   46
           2024-03-14      907970193       2016-08-28 23:46:45                                                              2021-01-10 9:05:20

   47
           2024-03-14      950870224       2016-08-28 13:29:08     2016-08-28 13:29:08                                    2021-01-06 21:40:07
   48
           2024-03-14      126190260       2016-08-28 23:58:19     2016-08-28 23:58:19                                    2021-01-06 23:23:40
   49
           2024-03-14      730522822        2016-08-29 0:04:03                                                            2021-01-08 15:29:52


   50
           2024-03-14      338469737       2016-08-28 23:42:43                                                            2021-01-06 23:03:11

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